

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-78,171-02






EX PARTE CORDELL HINES, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. 1278982 IN THE 230TH DISTRICT COURT


FROM HARRIS COUNTY






	Per curiam.


O R D E R



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for a writ of habeas corpus. Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967). Applicant was convicted of murder and
sentenced to thirty-eight years' imprisonment. His appeal was dismissed because appeal was not
timely perfected. Hines v. State, No. 14-11-00735-CR (Tex. App.--Houston [14th Dist.] Sep. 13,
2011) (unpublished).  

	Applicant contends, inter alia, that he was deprived his right to appeal and that his counsel
rendered ineffective assistance because counsel failed to timely file a notice of appeal. The trial court
signed an order designating issues, but it was untimely and the writ application was forwarded to this
Court. Hines v. Harris County District Clerk, No. AP-76,908 (Tex. Crim. App. Nov. 7, 2012)
(unpublished). 

	Applicant has alleged facts that, if true, might entitle him to relief. Strickland v. Washington,
466 U.S. 668 (1984); Ex parte Patterson, 993 S.W.2d 114, 115 (Tex. Crim. App. 1999); Ex parte
Axel, 757 S.W.2d 369 (Tex. Crim. App. 1988). In these circumstances, additional facts are needed.
As we held in Ex parte Rodriguez, 334 S.W.2d 294, 294 (Tex. Crim. App. 1960), the trial court is
the appropriate forum for findings of fact. The trial court shall order counsel to respond to
Applicant's claim of ineffective assistance of counsel. The trial court may use any means set out in
Tex. Code Crim. Proc. art. 11.07, § 3(d).

	If the trial court elects to hold a hearing, it shall determine whether Applicant is indigent. 
If Applicant is indigent and wishes to be represented by counsel, the trial court shall appoint an
attorney to represent Applicant at the hearing. Tex. Code Crim. Proc. art. 26.04. 

	The trial court shall make findings of fact and conclusions of law as to whether Applicant
was denied his right to a meaningful appeal because Applicant's counsel failed to timely file a notice
of appeal. The trial court shall make other specific findings on the issues raised in its untimely order
designating issues and any other findings of fact and conclusions of law that it deems relevant and
appropriate to the disposition of Applicant's claim for habeas corpus relief.

	This application will be held in abeyance until the trial court has resolved the fact issues. The
issues shall be resolved within 90 days of this order. A supplemental transcript containing all
affidavits and interrogatories or the transcription of the court reporter's notes from any hearing or
deposition, along with the trial court's supplemental findings of fact and conclusions of law, shall
be forwarded to this Court within 120 days of the date of this order. Any extensions of time shall be
obtained from this Court. 

Filed: January 16, 2013

Do not publish


